4:08-cr-03148-RGK-CRZ        Doc # 326     Filed: 11/24/09   Page 1 of 1 - Page ID # 943




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                    Plaintiff,             )                  4:08CR3148
                                           )
             v.                            )
                                           )
ANGEL M. KOSKI,                            )       MEMORANDUM AND ORDER
                                           )
                    Defendant.             )
                                           )



      The government has filed an unopposed motion to continue sentencing (filing 324),
and defense counsel has filed a motion to allow the defendant to leave detention to receive
drug and substance-abuse treatment (filing 325).

      IT IS ORDERED:

      1.     The government’s unopposed motion to continue sentencing (filing 324) is
             granted, and the sentencing set for 12:30 p.m. on Tuesday, November 24,
             2009, is continued until further order of the court;

      2.     The parties shall contact Kris Leininger in the chambers of the undersigned
             United States district judge on Tuesday, December 1, 2009, to reschedule
             this matter;

      3.     Defense counsel’s motion to allow the defendant to leave detention to
             receive drug and substance-abuse treatment (filing 325) is denied.

      DATED this 24th day of November, 2009.

                                         BY THE COURT:
                                         Richard G. Kopf
                                         United States District Judge
